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UNITED STATEs DISTRICT CoURT

for the
District of New Mexico

 

United States of America )
v. )
) CaseNO: l<gN\j(QOlz
Jayron Joel CHOC-Ac §
)
Dej@ndanr(s)
CRIMINAL COMPLAINT

I, the complaith in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of June lZ, 2Q18 in the county of Dona Ana in the State and District of New Mexicg, the defendant violated §

U.S.C. §l§g§ta)§ l ),12)t Re-Ent[y Ane[ Depgrtl, an offense described as foilows:

an alien, who had been previously arrested and deported from the United States and who had not received the consent of
the appropriate authority of the United States to reapply for admission into the United States, was found in the United
States, being willfully in the United States unlawfully

This criminal complaint is based on these facts:
On June 17, 2018, a United States Border Patrol Agent encountered the Defendant in Dona Ana County, New Mexico.
When questioned as to his citizenship the Def`endant admitted to being a citizen of Guatemala without authorization to
enter or remain in the United States. Record checks revealed that the Defendant had been previously deported to
Guatemala via El Paso, 'I`x on or about May 9, 2016. There is no evidence that the Defendant received permission from
the appropriate Authority to reapply for admission into the United States.

[] Continued on the attached sheet.

. M/, .
pla:nant s signature

/J\¢hn Torres BoRDER P_ATROL AGENT

Pri`nred name and t!

Swom to before me and signed in my presence

Date: June 19, 2018

 

 

City and state: Las Cruces, N.M.

 

 

Prr'nted name and title

